Case 1:23-md-03076-KMM Document 662 Entered on FLSD Docket 05/08/2024 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA




   IN RE: FTX CRYPTOCURRENCY EXCHANGE
   COLLAPSE LITIGATION
                                                                      Case No. 1:23-MD-03076-KMM
                                                                      MDL No. 3076
    THIS DOCUMENT RELATES TO:
    Lahav et al. v. Binance Holdings Limited et al.,
    No. 1:24-cv-21421-MOORE


                      DEFENDANT BINANCE HOLDINGS LIMITED’S
                FED. R. CIV. P. 7.1 CORPORATE DISCLOSURE STATEMENT


           Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, Defendant Binance

   Holdings Limited, by and through its undersigned counsel, identifies that its parent corporation is

   Binance (Services) Holdings Limited and that no publicly held corporation owns 10% or more of

   its stock.


   Dated: May 8, 2024                                  /s/ Samson A. Enzer
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